          Case 1:20-cr-02046-SAB     ECF No. 48     filed 09/22/21   PageID.120 Page 1 of 4



1    KEN THERRIEN
     413 NORTH SECOND STREET
2
     YAKIMA, WA 98901
3    509.457.5991

4    Attorney for:
     CHARLIE JIM PETERS
5

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7
                             UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF WASHINGTON
9                                  (Honorable Stanley A. Bastian)
10

11   UNITED STATES OF AMERICA,                        No. 20-CR-2046-SAB-1

12                                 Plaintiff,         MOTION AND DECLARATION TO
     v.                                               CONTINUE PRETRIAL
13
                                                      CONFERENCE AND TRIAL DATE
14   CHARLIE JIM PETERS,
                                                      October 22, 2021
15                                Defendant.          Yakima – Without Oral Argument
16

17           COMES NOW, Ken Therrien, attorney for defendant Charlie Jim Peters and moves

18   the court for an order continuing the pretrial hearing from October 6, 2021 and the trial
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     from October 25, 2021 to March 23, 2022 and April 4, 2022 respectively. This motion is
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     based on the files and records herein and the below-signed Declaration of Counsel.
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                                 DECLARATION OF COUNSEL
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23
             I, Ken Therrien, hereby declare as follows:

24           1.     I am over the age of eighteen and competent to testify regarding the matters

25   contained herein;


           MOTION AND DECLARATION TO CONTINUE                             KEN THERRIEN, PLLC
           PRETRIAL CONFERENCE AND TRIAL DATE - 1                    413 NORTH SECOND STREET
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                                                                                  (509) 457-5991
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1             2.    I am an attorney for the defendant, Charlie Jim Peters. I was appointed to
2
     represent Mr. Peters on February 19, 2021 (ECF 33). In addition, attorney Eric Eisinger,
3
     a CJA mentee, was appointed to represent Mr. Peters on April 9, 2021 (ECF 40).
4
              3.    Pretrial is currently scheduled for October 6, 2021 and trial is scheduled for
5
     October 25, 2021.
6
              4.    Defense counsel is requesting a continuance with a new pretrial hearing on
7
     March 23, 2022 and a new trial on April 4, 2022.
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              5.    The basis of this request is that additional time is necessary to obtain and
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     review discovery, investigate the case, prepare pretrial motions and prepare the case for
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     trial.
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              6.    In addition, I have a homicide trial that will commence on October 18, 2021.
12
     The trial is anticipated to last more than a week and conflicts with the trial setting in this
13
     case.
14
              7.    Court staff has confirmed that March 23, 2022 and April 4, 2022 are available
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     dates for pretrial and trial.
16
              8.    Defense counsel has notified AUSA Matthew Stone regarding the proposed
17
     continuance.
18
              9.    I met with Mr. Peters on September 20, 2021 and Mr. Peters does not agree
19
     with a continuance of the trial. He is being housed in the “F” tank at the Yakima County
20
     Jail, which is currently not under quarantine. However, many other tanks in the annex are
21
     under quarantine.
22
              10.   Based on defense counsel’s unavailability due to a conflicting homicide trial
23
     and due to the need for additional time to prepare for trial the requested continuance is
24
     necessary and in the interest of justice.
25




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                                                                                   (509) 457-5991
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1           I certify under penalty of perjury under the laws of the State of Washington and of
2    the United States of America that the foregoing is true and correct.
3           Dated this 22nd day of September, 2021.
4                                              /s/ Ken Therrien
                                               KEN THERRIEN, WSBA #20291
5
                                               Attorney for Charlie Jim Peters
6                                              413 North Second Street Yakima, WA 98901
                                               (509) 457-5991
7                                              Fax: (509) 457-6197
                                               kentherrien@msn.com
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        MOTION AND DECLARATION TO CONTINUE                                KEN THERRIEN, PLLC
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1                              CERTIFICATE OF SERVICE
2
     I hereby certify under penalty of perjury of the laws of the State of Washington that
3
     on September 22, 2021, I electronically filed the foregoing with the Clerk of the Court
4    using the CM/ECF System which will send notification of such filing to the
     following:
5
               • Michael Murphy, Assistant United States Attorney
6              • Matthew Stone, Assistant United States Attorney
7
                                            /s/ Eric Eisinger, WSBA #34293 for
8
                                            KEN THERRIEN, WSBA #20291
9                                           Attorney for Charlie Jim
                                            Peters
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